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                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA

                    UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

BLACK WARRIOR                        )
RIVERKEEPER, INC.,                   )
                                     )
         Plaintiff,                  )
                                     )   Case No.: 2:16-cv-01443-AKK
 v.                                  )
                                     )
DRUMMOND COMPANY,                    )
INC.,                                )
                                     )
         Defendant.                  )




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                         [PROPOSED] CONSENT DECREE

                                       RECITALS

        WHEREAS, on September 1, 2016, after sending notice of the violations alleged

herein and their intent to sue on the Administrator of the U.S. Environmental

Protection Agency, the Regional Administrator of Region 4 of the U.S. Environmental

Protection Agency, the Director of the Alabama Department of Environmental

Management, and Defendant Drummond Company, Inc. (“DCI”), in accordance with

§ 505(b)(1)(A) of the Clean Water Act (“CWA”), 33 U.S.C. § 1365(b)(1)(A), and §

7002(b)(2)(A) of the Resource Conservation and Recovery Act (“RCRA”), 42 U.S.C.

§ 6972(b)(2)(A), Plaintiff Black Warrior Riverkeeper, Inc. (“BWR”) commenced this

action alleging that DCI has violated the CWA and RCRA by discharging acid mine

drainage (“AMD”), sediment, mine waste, and/or other pollutants from DCI’s Maxine

Mine Site (“the Site”) into the Locust Fork of the Black Warrior River and tributaries

of the Locust Fork;

             WHEREAS, BWR’s Complaint and amendments seek declaratory and

 injunctive relief, the imposition of civil penalties, and the award of costs, including

 attorney’s and expert witness fees;

             WHEREAS, DCI answered the Complaint, including amendments, and

 denied BWR's allegations, asserted numerous defenses, and denied liability and

 BWR's entitlement to the relief, penalties, costs, and fees sought;


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             WHEREAS, in May 2019, the Court granted BWR’s motion for partial

 summary judgment “solely as to liability on BWR’s claim that DCI violated CWA

 § 402 by discharging AMD from the refuse pile, ditches, channels, gullies, basins,

 and dams at the site into Locust Fork.” Doc. 93 at 66. In January 2022, the Court

 granted BWR’s motion for partial summary judgment on BWR’s groundwater

 claims under CWA § 402, ruling that “the groundwater discharges carrying AMD

 into the Locust Fork constitute the ‘functional equivalent of a direct discharge’ of

 pollution under the CWA.” Doc. 122 at 28;

             WHEREAS, the Parties recognize, and the Court by entering this Consent

 Decree finds, that the Consent Decree has been negotiated by the Parties in good

 faith and will avoid further litigation between the Parties, and that this Consent

 Decree is fair, reasonable, and in the public interest;

             WHEREAS, pursuant to 33 U.S.C. § 1365(c)(3), this Consent Decree is being

 forwarded to the United States Department of Justice (“DOJ”) and EPA for the

 statutorily-mandated forty-five-day review period; and

             WHEREAS, the Parties consent to the entry of this Consent Decree without

 trial of any issues;

             NOW, THEREFORE, without this Consent Decree constituting any evidence

 or admission by any party with respect to any issue of fact or law herein, and upon

 consent of the parties hereto, IT IS HEREBY ORDERED, ADJUDGED, AND

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 DECREED as follows:

                            I.     JURISDICTION AND VENUE

        1.        The Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. § 1331, 33 U.S.C. § 1365(a), and 42 U.S.C. § 6972(a)(1)(B).

        2.        Venue is proper in the Northern District of Alabama pursuant to 28 U.S.C.

§ 1391(b), 33 U.S.C. § 1365(c)(1), and 42 U.S.C. § 6972(a).

        3.        For purposes of this Decree, or any action to enforce this Decree, the

Parties consent to the Court’s continuing jurisdiction over the Decree.

                                    II.    APPLICABILITY

             4.   The provisions of this Decree apply to and are binding on BWR and DCI

 and their successors and/or assigns.

             5.   No transfer of ownership of the Site shall relieve DCI of its obligations

 to ensure that the terms of this Consent Decree are implemented.

                                 III.     INJUNCTIVE RELIEF

             6.   DCI shall achieve “Compliance,” defined as meeting the discharge limits

 in paragraph 9 (the “Discharge Limits”) and the other requirements in paragraphs 7,

 10, and 24, by whatever scientifically proven and environmentally sound

 technologies it chooses, as to discharges from OLC 3, seep 3, and seep 6 at the Site

 (as more specifically identified in Exhibit A) by October 15, 2027 (the “Compliance

 Date”). Samples collected to monitor compliance with the Discharge Limits shall


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 be collected at the nearest accessible location just prior to discharge and after final

 treatment.

             7.    Compliance requires that the Discharge Limits be met during flow

 conditions up to the 90th percentile flow rate (or the equivalent in inches of rain in a

 24-hour period) (“Flow Conditions”) and any flow which bypasses the treatment

 system(s) will be mixed with the treated effluent prior to discharge to the receiving

 waters.          Flow Conditions will be computed from data collected twice per month

 from October 15, 2025, to the Compliance Date.

             8.    If DCI applies for any NPDES permit for discharges from the Site, and

 any permit is issued, DCI will remain bound by the Discharge Limits and compliance

 points for OLC 3, seep 3 and seep 6. DCI will provide prompt and advance notice

 to BWR if it intends to alter the site in such a way that will change or alter the

 discharge and compliance points for OLC 3, seep 3 and seep 6.                      If those

 compliance/discharge points are changed, the Discharge Limits specified herein will

 transfer to and be applicable to the new discharge points and the new discharge

 points will become the new compliance points under this Decree.

             9.    The terms of this Decree will control over any effluent limit(s) contained

 in any permit which are less stringent, numerically, than the following Discharge

 Limits:

        Iron -- 3.0 mg/l daily average/6.0 mg/l daily maximum;


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        Manganese -- 2.0 mg/l daily average/4.0 mg/l daily maximum;

        Aluminum--1.0 mg/l daily average/2.0 mg/l daily maximum;

        Total Suspended Solids-- 35.0 mg/l daily average/70.0 mg/l daily maximum;

        pH --daily minimum 6.0 s.u.; daily maximum 8.5 s.u.; and

        Toxicity—Pass/Fail.

             10. Compliance also requires meeting the water quality standards at Ala.

 Admin. Code § 335-6-10-.06, including those requiring lack of floating debris, oil,

 scum and other floating materials in the discharge from the site that would interfere

 directly or indirectly with any classified water use.

             11. Compliance must be documented by sampling for the Discharge Limits

 at OLC 3, seep 3, and seep 6, or any new discharge/compliance points created by

 alteration of the site, which receive flow previously discharged through OLC 3, seep

 3 or seep 6, to be conducted by DCI and submitted to a certified, independent

 laboratory for analysis. This sampling will begin immediately upon entry of this

 Decree and the frequency will be twice per month, on the first and third Wednesday,

 for all Discharge Limits at the agreed sampling locations/compliance points. DCI

 will take date and location-stamped photographs of the effluent and sampling

 location for each sample and shall maintain the chain of custody forms for all

 samples submitted to the independent laboratory.

             12. DCI will also conduct whole effluent toxicity (WET) tests for acute and


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 chronic toxicity, pursuant to U.S. EPA methods (EPA 2002 Short-term Methods for

 Estimating the Chronic Toxicity of Effluents and Receiving Waters to Freshwater

 Organisms), at the same compliance points described in paragraph 11, once per

 month for the same sampling locations. If the results of any WET test are a “fail,”

 DCI will have the right to make a re-test to determine whether there was a cause for

 the result other than toxicity, but such re-testing can only be conducted once and

 must be conducted within 3 days of the “fail” result.

             13. DCI will sample at the compliance points described in paragraph 11 once

 per month on the first Wednesday for the following metals: arsenic, cadmium,

 copper, lead, nickel, selenium, chromium, mercury, thallium, and zinc. If a NPDES

 permit is issued, this sampling requirement will terminate. In the event no NPDES

 permit is issued, DCI may request that this sampling requirement be terminated after

 all treatment systems for the site are in operation and effluent has been sampled for

 a 12-month period and the sampling does not indicate elevated levels of the above-

 listed metals.

             14. DCI will also sample at the compliance points described in paragraph 11

 once per month on the first Wednesday for five-day biological oxygen demand

 (BOD5), chemical oxygen demand (COD), dissolved oxygen, conductivity, sulfate,

 total dissolved solids, nitrate, nitrogen, phosphorus, chloride, and sodium. DCI may

 request that this sampling requirement be terminated after all treatment systems for


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 the site are in operation and effluent has been sampled for a 12-month period and

 the sampling does not indicate elevated levels of any of the parameters listed in this

 paragraph.

             15. After every three months of sampling and data collection pursuant to

 paragraphs 11-14, BWR shall have the right to exercise an option to request a

 meeting with DCI if BWR in good faith has a concern with one or more of the

 sampling results. The parties will then meet and work in good faith to seek a

 mutually agreeable solution to satisfy BWR’s concerns.

             16. DCI shall provide a quarterly report to BWR of all sampling activity and

 results.

             17. Milestone 1. Within 24 months of the date of entry of this Decree, DCI

 will design, locate, and install a cutoff wall (or other physical method) in the vicinity

 of MW-21 or MW-22 to redirect the groundwater where it can be treated or

 otherwise resolved to meet discharge criteria.

             18. If DCI fails to reach Milestone 1, it will incur a time extension payment

 in the amount of $500 per day for each day the milestone is not met, to be paid

 quarterly to the SEP recipient in paragraph 30.

             19. Milestone 2. After installation of the groundwater redirection system in

 paragraph 17, monitoring of the flow and concentration data from groundwater

 intercepted will be used to develop a “basis of design” report for a source control

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 and/or passive treatment system for OLC 3 and seep 3 that will be provided to BWR

 by 36 months from the date of entry of this Decree, and which system will be in

 operation by the Compliance Date.

             20. If DCI fails to reach Milestone 2, it will incur a time extension payment

 in the amount of $500 per day for each day the milestone is not met, to be paid

 quarterly to the SEP recipient in paragraph 30.

             21. Milestone 3. On or before 24 months from the date of entry of this

 Decree, DCI will complete all bench, pilot, and field testing needed for technologies

 it intends to use to remediate discharges at seeps 1, 2 and 6, and will provide a “basis

 of design” report to BWR, along with data and test results, for a source control and/or

 passive treatment system for seep 6 that will be operational by 48 months from the

 date of entry of this Decree. DCI will endeavor to direct the flow from seeps 1 and

 2 to the seep 6 system, but if such redirection is not physically or feasibly attainable,

 DCI shall include in its basis of design report any alternate remediation methods DCI

 intends to employ at seeps 1 and 2.

             22. If DCI fails to meet Milestone 3, it will incur a time extension payment

 in the amount of $500 per day for each day this milestone is not met, to be paid

 quarterly to the SEP recipient in paragraph 30. In no event shall DCI pay more than

 $500 a day for failure to meet any milestone(s).

             23. DCI will send BWR a quarterly report of all site activity and remediation

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 activities until remediation work is completed. DCI will give site access to BWR

 and/or its consultants, on a regular monthly schedule during the remediation stage,

 to verify and document the work and, if necessary, conduct its own sampling.

             24.   Compliance will also require that DCI meet the Discharge Limits in

 paragraph 9 (or for toxicity, achieve “pass”) on the regularly scheduled sampling

 dates after the Compliance Date. If sampling indicates that discharges from OLC 3,

 seep 3, and seep 6 are not in compliance on any regularly scheduled date after the

 Compliance Date, DCI will have the right to immediately conduct additional

 sampling but will pay $1750 per day for each day that the discharge is out of

 Compliance, to be paid on a quarterly basis to the SEP recipient named in paragraph

 30. The $1750 per day payment will run from the date of receipt of the lab results

 indicating non-Compliance until lab results demonstrating Compliance are obtained.

             25. If Compliance is reached by the Compliance Date or earlier, DCI will

 provide written notice of Compliance to BWR within 30 days and as part of the

 notice will submit to BWR a detailed report documenting all remedial measures

 which have been implemented to achieve Compliance, along with complete

 drawings or design documents, if requested, detailing such remedial measures. DCI

 will also allow site access to BWR and its consultants at that point to verify the work,

 and BWR may conduct its own sampling of discharges.

             26. If DCI reaches Compliance by use of bactericides and passive treatment


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 or any technology or means other than excavation and removal of the mine

 wastes/GOB pile or complete neutralization of the AMD-producing mine wastes,

 then DCI will document the capital and operating costs of the remedial measures it

 has implemented and will provide a long-term Operations and Maintenance Plan

 (“O&M Plan”) which describes the anticipated maintenance of the passive system

 for its life, the cost of such operation and maintenance, and an identification of who

 will administer the O&M Plan. In addition, DCI will provide financial assurance to

 fund the O&M Plan for a period of 30 years in the form of an escrow account, bond,

 letter of credit, or other reasonably comparable or equivalent financial assurance.

 After 30 years, the O&M plan will be evaluated to assess performance, maintenance,

 and future funding requirements. DCI commits itself and its successors, assigns, or

 contractors working on its behalf, to complying with the O&M Plan and to following

 the funding mechanism required under this Decree.

       27.    If DCI reaches Compliance by use of bactericides and passive treatment

 or any technology or means other than excavation and removal or complete

 neutralization, DCI shall sample for the parameters iron, manganese, aluminum,

 total suspended solids, and pH at seep 3, seep 6, and OLC 3, or other

 discharge/compliance points created to replace those discharge/compliance points

 by altering the site, to ensure ongoing compliance with the discharge limits as to

 those parameters. This sampling shall be conducted once a month, on the first

 Wednesday of each month or as close to that date as possible if weather or site
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 conditions require delaying sampling to the next available date, and the monthly

 sampling reports shall be provided to BWR quarterly. Upon request and 5-days’

 notice, BWR shall be entitled to attend the sampling and take split samples.

             28. If DCI is unable to reach Compliance by use of bactericides and passive

 treatment or any technology or other means not involving excavation by October 15,

 2027, then DCI will be charged time extension payments, calculated at $1750 per

 day starting on the first day following the Compliance Date until it reaches

 Compliance, payable quarterly to the SEP recipient in paragraph 30. The time

 extension payment amount of $500 for failure to meet a milestone and $1750 for

 failure to reach Compliance are not cumulative on a daily basis. In no event shall

 DCI pay more than $1750 a day in time extension payments. If there is any dispute

 regarding whether DCI is continuing to pursue Compliance after the Compliance

 Date, such dispute will be subject to the Dispute Resolution provisions in Part X of

 this Decree.

                                 IV.    CIVIL PENALTIES

             29.   Within 30 days of the entry of this Decree, DCI shall pay $10,000 as a

 civil penalty to the U.S. Treasury for the Clean Water Act violations cited by the

 Court in its rulings. That payment shall be made by check or money order to the

 United States Treasury and should be sent to the following address:

                   Alicia Kolaian
                   Litigation Support Specialist

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               Environment & Natural Resources Division
               Office of Litigation Support
               P.O. Box 7611
               Ben Franklin Station
               Washington, DC 20044-7611

The check or money order shall reference Black Warrior Riverkeeper v. Drummond

Company, Civil No. 2:16-cv-01443-AKK, and payment shall be considered paid upon

mailing or direct delivery to the specified address. A copy of the check or money order

and cover letter shall be sent to BWR at the time payment is made and shall state that

the payment is being made pursuant to this Decree.

          V.      SUPPLEMENTAL ENVIRONMENTAL PROJECTS

       30. Within 30 days of entry of this Decree, DCI shall fund a supplemental

 environmental project (SEP) in the amount of $1,000,000 to be provided to the

 recipient Freshwater Land Trust. The SEP will address an area or areas of concern

 within the Locust Fork watershed, with SEP projects to be decided upon by

 Freshwater Land Trust after consultation with BWR. Alternatively, DCI may elect

 to donate to Freshwater Land Trust all or a portion of a property it owns at the

 confluence of the Locust and Mulberry forks of the Black Warrior River, located at

 33°33´56´´N, 87°11´27.9´´W, that is valued at $1,000,000 or more. This property is

 of unique conservation value because it is a forested waterfront peninsula at the

 confluence of the Mulberry and Locust forks where they form the Black Warrior

 River, so this is an important location geographically within the watershed. Its

 preservation and protection would also enhance water quality in a sensitive part of
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 the Black Warrior River watershed, since its conservation would prevent it from

 being mined, logged or developed. There are also water quality, wildlife habitat,

 and conservation values inherent to preserved property. Drummond may also

 identify and offer to donate other property it owns in the Black Warrior River

 watershed with similar high conservation value, which offer must be mutually

 agreed upon by DCI, BWR, and Freshwater Land Trust. If DCI elects the land

 donation option, and if BWR and Freshwater Land Trust agree to accept the donation

 of property in lieu of cash, the conservation property will be appraised by a licensed

 appraiser and if the appraised value is less than $1,000,000, then DCI will pay the

 difference between the appraised value and $1,000,000 to the SEP recipient after

 donation of the property.

                         VI.   ATTORNEYS’ FEES AND COSTS

             31. Within 30 days of entry of this Decree, DCI will pay the amount of

 $2,000,000 for BWR’s attorney’s fees, $650,334.54 for Southern Environmental

 Law Center’s (SELC’s) expert and consultant expenses, and $6,900 for Public

 Justice’s litigation expenses. DCI shall remit these amounts by check made payable

 to the Southern Environmental Law Center (SELC,) which shall be wholly

 responsible for the proper distribution of any portions of the delivered sums to any

 and all attorneys, experts, or other entities who may be entitled thereto.

             32.   The amounts set forth in paragraph 31 above shall be a complete


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 settlement of BWR’s claims for costs and fees incurred in this case, and the sum

 shall be the total costs and fees up to date of lodging of this Decree.

             33. BWR does not waive, and expressly reserves, the right to move for

 additional fees and costs incurred by BWR after the entry of this Decree to seek and

 obtain the Court’s enforcement of the terms of this Decree. Likewise, DCI does not

 waive, and expressly reserves, the right to oppose such motions for additional fees

 and costs.

             VII. EFFECT OF SETTLEMENT, RELEASES BY BWR, AND
                     RESERVATION OF RIGHTS BY THE PARTIES

             34. This Decree resolves the civil claims of BWR as alleged in the

 Complaint, as amended [Docs. 1, 12, and 24], through the Effective Date (as defined

 herein).

             35. In exchange for DCI’s agreement to and compliance with the terms of

 this settlement of a contested matter, to which DCI agrees without admission of any

 fact or of any wrongdoing or liability, BWR hereby releases and forever discharges

 DCI and its shareholders; any divisions, subsidiaries, affiliates, or related entities

 and persons, including officers, directors, and shareholders; any partners,

 predecessors, successors, representatives, insurers, assignees, agents, employees,

 attorneys, executors, administrators, and heirs; and any and all persons acting by,

 through, or in any way on behalf of DCI of and from any and all claims alleged by

 BWR in the complaint, as amended, as well as from any violations that may have
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 occurred prior to the Effective Date (as defined herein) of this Decree.

                                 VIII. EFFECTIVE DATE

             36. This Decree shall become effective on the date of its entry by the Court

 following any required time period for notification and consideration by the United

 States (the “Effective Date”).

                                 IX.    FORCE MAJEURE

             37. “Force Majeure,” for purposes of this Decree, is defined as any event

 arising from causes beyond the control of DCI or of DCI’s consultants and/or

 contractors that delays or prevents the performance of any obligation under this

 Decree despite DCI’s best, good faith efforts to fulfill the obligation. The

 requirement that DCI exercise “best efforts to fulfill the obligation” includes using

 best efforts to address the effects of any such event (a) as it is occurring and (b) after

 it has occurred to prevent or minimize any resulting delay to the greatest extent

 possible. “Force Majeure” does not include DCI’s financial inability to perform any

 obligation under this Decree. If a delay or anticipated delay is attributable to a Force

 Majeure event, the time for performance of the obligations under this Decree that

 are affected by the Force Majeure event will be only extended for the length of such

 delay. An extension of the time for performance of the obligations affected by the

 Force Majeure event shall not, of itself, extend the time for performance of any other

 independent obligation.

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             38. The actions or inaction of any regulatory authority in reviewing and

 granting any permit for which application has timely been made by DCI are beyond

 DCI's control.

             39. DCI shall have the burden of demonstrating that a Force Majeure event

 occurred and that it used its best, good faith efforts to comply with the Decree.

                                 X.    DISPUTE RESOLUTION

             40. Unless otherwise expressly provided for in this Decree, the dispute

 resolution procedures of this section shall be the exclusive mechanism to resolve

 disputes arising under or with respect to this Decree regarding Part III of this Decree.

 Either Party’s failure to seek resolution of a dispute under this section shall preclude

 the Party from raising any such issue to enforce any obligation of the other Party

 arising under this Decree.

             (1)   Informal Dispute Resolution.    Any dispute subject to Dispute

 Resolution under this Decree shall first be the subject of informal negotiations

 between the Parties. A dispute shall be considered to have arisen when a Party sends

 the other Party a written Notice of Dispute. Such Notice of Dispute shall state clearly

 the matter in dispute. The period of informal negotiations shall not exceed 14 days

 from service of the Notice of Dispute unless that period is modified by written

 agreement. If the Parties cannot resolve a dispute by informal negotiations, then

 either Party or both Parties may invoke formal dispute resolution procedures with

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 the Court.

             (2)   Formal Dispute Resolution. Either party may invoke formal dispute

 resolution procedures with the Court, within the time period provided in the

 preceding paragraph, by filing a written Statement of Position regarding the matter

 in dispute. The initiating party’s Statement of Position shall include, but need not be

 limited to, any factual data, analysis, or opinion supporting the filing party’s position

 and any supporting documentation. The other party shall file its Statement of

 Position within 21 days of its receipt of the initiating Party’s Statement of Position.

 This party’s Statement of Position shall include, but need not be limited to, any

 factual data, analysis, or opinion supporting that position and any supporting

 documentation. The initiating party may, but is not required to, submit a reply within

 7 days thereafter.

             (3)   In invoking formal dispute resolution, the Parties are seeking judicial

 determination of the dispute. Except as otherwise provided in this Decree, in any

 dispute initiated for formal dispute resolution, the initiating party shall bear the

 burden of demonstrating that its position is correct and complies with this Decree.

 The Court shall determine, in its discretion, whether to hold a hearing to take

 testimony from witnesses on any issue or whether to resolve the dispute on the

 papers, including any declarations, submitted. The Court may also elect to refer any

 dispute to a magistrate judge for determination by hearing or on the papers through

 a report and recommendation.
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             (4)     The invocation of dispute resolution procedures under this section shall

 not, by itself, extend, postpone, or affect in any way any obligation of DCI under

 this Decree, unless and until final resolution of the dispute so provides.

                   XI.   INFORMATION COLLECTION AND RETENTION

             41. DCI will provide BWR with monthly reports of actions taken and

 completed pursuant to Part III of this Decree, including any sampling and/or other

 data developed and tabulated and any other documentary evidence, including, but

 not limited to, photographs and video of remediation work. This Decree in no way

 limits or affects any duty or obligation of DCI to maintain documents, records, or

 other information imposed by state or federal laws, regulations, or permits.

             42. DCI will provide BWR with access to the Property at a mutually

 agreeable date and time at regular intervals of not to exceed once per quarter to

 inspect the work performed pursuant to Part III of this Decree. This Decree in no

 way limits or affects any duty or obligation of DCI to provide access to the Property

 for properly credentialed agents and employees of state or federal governmental

 agencies in accordance with state or federal laws, regulations, or permits.

                         XII. REGULATORY APPROVALS/PERMITS

             43. This Decree in no way affects or relieves DCI of its responsibility to

 comply with federal, state, and local laws, regulations, and applicable permits. DCI

 shall perform the work required by the Decree in compliance with the requirements

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 of all applicable federal, state, and local laws, regulations, and any applicable permits.

 This Decree shall not, in and of itself, be considered a permit issued pursuant to any

 state, federal, or local statute, regulation, or ordinance. Where any compliance

 obligation under this section requires DCI to obtain a federal, state, or local permit

 or approval, DCI shall timely request such approval, submit substantially complete

 permit applications, and take all other actions necessary to obtain any such approvals

 or permits, but shall not be deemed non-compliant or in violation of this Decree or

 otherwise penalized for any delay in the review and/or issuance of any permit by any

 regulatory authority.

                                  XIII. COSTS OF WORK

             44. DCI shall bear all costs associated with the investigation, development,

 planning, design, construction, and implementation of all of the work elements of

 the injunctive relief prescribed in this Decree.

       XIV. BWR AGREEMENT TO HONOR PROPERTY BOUNDARIES

             45. BWR acknowledges that the Property is located on property owned by

 DCI and that neither BWR nor its members have any right to cross the boundaries of

 the Property for any reason without the express and specific permission of DCI, as

 owner of the Property. BWR, for itself and for its employees, agents and attorneys,

 agrees that it will not enter the Property—with entry defined as crossing a boundary

 of the Property—for any reason without express written permission of a duly


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 authorized person extending such permission on behalf of DCI. Pursuant to Part XI,

 above, DCI has agreed to provide BWR such access as is reasonably necessary for

 the Parties’ to fulfill the terms of this Decree.

        XV. RETENTION OF JURISDICTION AND TERMINATION OF
                               DECREE

             46. The Court shall retain jurisdiction for the purposes of modifying or

 enforcing this Decree and of adjudicating any disputes between the Parties that may

 arise under this Decree until termination of this Decree.

                                   XVI. TERMINATION

             47.   After DCI has completed all requirements and made all payments due

 under Parts III, IV, V, and VI, and maintained Compliance (as defined above) for a

 period of five years, either Party may file a Motion for Termination of this Decree

 (“Motion for Termination”); provided, however, that the bond requirement in

 paragraph 26 shall continue regardless of the termination and shall remain an

 enforceable requirement subject to the jurisdiction of the Court.

             48.   Any such Motion for Termination shall state that DCI has satisfied each

 of the stated requirements and shall include all necessary supporting documentation.

             49.   Following the filing by either Party of a Motion for Termination, the

 Parties shall confer informally concerning the Motion and any disagreement that the

 Parties may have as to whether DCI is in Compliance. If both sides agree that the

 Decree may be terminated, the parties shall submit, for the Court's approval, a joint
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 stipulation terminating all requirements of the Decree.

             50.   Notwithstanding paragraphs 47-49 above, either party shall have the

 right to request termination of this Decree for noncompliance or other good cause

 shown on or after ten (10) years from entry of this Decree by filing a Motion for

 Termination

                       XVII. INTEGRATION AND SEVERABILITY

             51. This Decree constitutes the final, complete, and exclusive agreement and

 understanding among the Parties with respect to the settlement embodied in the

 Decree and supersedes all prior agreements and understandings, whether oral or

 written, concerning this agreement. Other than documents that are subsequently

 provided pursuant to this Decree in conjunction with Part III, no other document nor

 any representation, inducement, agreement, understanding, or promise constitutes

 any part of this Decree or the settlement it represents, nor shall it be used in

 construing the terms of this Decree.

             52. The provisions of this Decree shall be severable. If any provisions are

 declared by a court of competent jurisdiction to be unenforceable, the remaining

 provisions shall nevertheless remain in full force and effect.

                                  XVIII. MODIFICATION

             53. The terms of this Decree may be modified only by a subsequent written

 agreement signed by all Parties. Where the modification constitutes a material

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 change to the Decree, such modification shall be effective only upon approval by the

 Court.

             54. Any disputes concerning modification of this Decree shall be resolved

 pursuant to Part X; provided, however, that instead of the burden of proof required

 for dispute resolution, the Party seeking the modification bears the burden of

 demonstrating that it is entitled to the requested modification in accordance with

 Federal Rule of Civil Procedure 60(b).

                     XIX. LODGING AND APPROVAL OF DECREE

             55. Pursuant to § 505(c)(3) of the CWA, 33 U.S.C. § 1365(b)(3), this Decree

 will be lodged with the Court and presented to the United States for its review for a

 period of forty-five (45) days. After the statutory period expires, this Decree may be

 entered by the Court as a final judgment of the Court. If this Decree is not entered by

 the Court, the Parties shall retain all rights they had in this litigation before lodging of

 this Decree. In the event the United States proposes modifications to this Decree, the

 Parties agree to confer and undertake good faith efforts to resolve any disputes that

 may arise out of the proposed modifications by the United States of the Decree;

 however, the Parties reserve and shall retain all rights to object to any modification

 proposed by the United States, ADEM, or any other person or entity, whether during

 the comment period or otherwise.




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              XX. NOTICES, SUBMISSIONS, AND COMMUNICATIONS

             56. Except as otherwise specified, when BWR or DCI transmits any written

 notification, submission, or communication required by the terms of this Decree, the

 notification, submission, or communication shall be addressed as follows both to the

 stated physical address and the email address of counsel as follows:

                 To BWR:

                 Eva Dillard, Esq. Staff Attorney
                 Black Warrior Riverkeeper, Inc.
                 712 37th Street South
                 Birmingham, Alabama 35222-3206
                 edillard@blackwarriorriver.org

                 With a copy to:

                 Barry Brock, Esq.
                 Southern Environmental Law Center
                 2829 Second Avenue South
                 Suite 282
                 Birmingham, Alabama 35233
                 bbrock@selcal.org




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             To DCI:

             Blake D. Andrews, Esq.
             Vice President and General Counsel
             Drummond Company, Inc.
             P.O. Box 10246
             Birmingham, Alabama 35202
             Bandrews@drummondco.com

             With a copy to:

             Richard E. Davis, Esq.
             H. Thomas Wells, III, Esq.
             Starnes Davis Florie LLP
             100 Brookwood Place, 7th Floor
             Birmingham, Alabama 35209
             rdavis@starneslaw.com
             twells@starneslaw.com.


       57. BWR and DCI agree to accept service by U.S. Mail and email with

 respect to all matters arising under or relating to this Decree and to waive any formal

 service requirements set forth in Rules 4 and 5 of the Federal Rules of Civil

 Procedure and any applicable local rules of the Court.

       58. The Parties shall immediately notify one another of any change of

 designated recipients and/or any change of address, whether of physical or email

 address.

                            XXI.          SIGNATORIES

       59. The undersigned representatives of the Parties certify that they are fully

 authorized to enter into the terms and conditions of this Decree and to execute and

 legally bind such party to this document.
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                   XXII. EXECUTION IN COUNTERPARTS

       60. This Decree may be executed in counterparts, each of which shall be

 deemed to be an original, but all of which, taken together, shall constitute one and

 the same agreement.

ENTERED and DONE this                  day of         , 2022.




                                                Abdul K. Kallon
                                                UNITED STATES DISTRICT JUDGE


FOR PLAINTIFF BLACK WARRIOR RIVERKEEPER, INC.




Charles Scribner, Executive Director
Black Warrior BWR, Inc.
712 37th Street South
Birmingham, Alabama 35222-3206
(205) 458-0095

Approved as to form:



Eva L. Dillard, Staff Attorney ASB-4118-A59E
Black Warrior BWR, Inc.
712 37th Street South
Birmingham, Alabama 35222-3206
(205) 458-0095
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                 EXHIBIT A
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                             SEEP 6




                                                               SEEP 3



                                                                        OLC 3

                                                  OLC 3




                                                          MAXINE
                                                          Exhibit A
                                            1" = 300'      AERIAL PHOTO DATE: 03/22/2022
